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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

E.J.,                                                     :       CIVIL ACTION
a minor, by Irina Mayman, Mother                          :
                                                          :
        v.                                                :
                                                          :
ROBERT JOHNSON,                                           :
MARIA JOHNSON, h/w, and                                   :
GREGORY JOHNSON                                           :       NO. 23-3747

                                                    ORDER

         NOW, this 27th day of September, 2023, it appearing that venue in the United

States District Court for the Middle District of Pennsylvania, where the cause of action

arose, is more convenient for the parties and the witnesses, it is ORDERED that this

action is TRANSFERRED to the United States District Court for the Middle District of

Pennsylvania. 1




        1 Pursuant to 28 U.S.C. § 1404(a), for the convenience of the parties and witnesses, a district court

may, in the interest of justice, transfer a case to a district where it could have been brought. Here, that
district is the Middle District of Pennsylvania.
         Venue is proper in a judicial district where a substantial part of the events or omissions giving rise
to the claim occurred or where any defendant resides if all defendants are residents of the state in which
the district is located. 28 U.S.C. § 1391(b)(1) and (2). For purposes of venue, residency for an individual
is where he is domiciled. 28 U.S.C. § 1391(c)(1).
         None of the events giving rise to the plaintiff’s claims occurred in this district. E.J.’s cause of action
is based on events that occurred in Saylorsburg, Pennsylvania, in Monroe County. Saylorsburg is located
within the Middle District of Pennsylvania where the defendants reside. In addition, we note that the plaintiff
resides in Staten Island, New York.
